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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 4:21-cv-10054-KMM

  VANESSA SANCHEZ,

         Plaintiff,

  v.

  WESTCARE FOUNDATION, INC.,
  a Foreign Not-for-Profit Corporation,

         Defendant.
                                                 /
                               JOINT NOTICE OF SETTLEMENT

         Plaintiff, VANESSA SANCHEZ and Defendant, WESTCARE FOUNDATION, INC.,

  (collectively, the “Parties”), hereby advise the Court that the parties have reached an agreement to

  settle the instant case pending execution of a settlement agreement. The Parties will file a

  Stipulation dismissing the Action with prejudice once the settlement agreement is executed, which

  they reasonably expect to do no later than thirty (30) days from the date of this Notice.

  Accordingly, the Parties respectfully request that the Court vacate all currently set dates and

  deadlines.

   /s/ Peter M. Hoogerwoerd                           /s/ Arianne B. Suarez
   PETER M. HOOGERWOERD, ESQ.                         ARIANNE B. SUAREZ, ESQ.
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   Attorneys for Plaintiff, Vanessa Sanchez           Attorneys for Defendant, Westcare Foundation, Inc.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 24, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties, either via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel

  or parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                         /s/ Arianne B. Suarez
                                                         Arianne B. Suarez, Esq.
                                                         Florida Bar No.: 143529




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